                                  Case 18-10467-KG                     Doc 1         Filed 03/04/18        Page 1 of 24


Fill in this information to identify the case:


United States Bankruptcy Court for the District of Delaware


Case number (If known):                                    Chapter 11                                                                    Check if this is an
                                                                                                                                         amended filing
Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number
(if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.   Debtor’s name                               HCR ManorCare, Inc.


2.   All other names debtor used                 HCRMC Operations, LLC
     in the last 8 years
                                                 HCR ManorCare, LLC
Include any assumed names,
trade names, and doing business as
names



3.   Debtor’s federal Employer
     Identification Number (EIN)                 XX-XXXXXXX

4.   Debtor’s address                            Principal place of business                             Mailing address, if different from principal
                                                                                                         place of business

                                                 333 North Summit Street
                                                 Number       Street                                     Number     Street



                                                 Toledo, Ohio 43604
                                                 City           State     ZIP Code                       City         State       ZIP Code


                                                                                                         Location of principal assets, if different
                                                                                                         from principal place of business
                                                 Lucas
                                                 County


                                                                                                         Number    Street


                                                                                                         City      State      ZIP Code



5.   Debtor’s website (URL)
                                                 www.hcr-manorcare.com

6.   Type of debtor                                     Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                        Partnership (excluding LLP)
                                                        Other. Specify:




Official Form 201                                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 1
                                 Case 18-10467-KG               Doc 1        Filed 03/04/18              Page 2 of 24


Debtor Name HCR ManorCare, Inc.                                Case number(if known)
7.    Describe debtor’s business           A. Check one:
                                                Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                Railroad (as defined in 11 U.S.C. § 101(44))
                                                Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                                None of the above


                                           B. Check all that apply:
                                                Tax-exempt entity (as described in 26 U.S.C. § 501)
                                                Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §
                                                80a-3)
                                                Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                           C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           http://www.uscourts.gov/four-digit-national-association-naics-codes.

                                            5511____



8.    Under which chapter of the           Check one:
      Bankruptcy Code is the debtor             Chapter 7
      filing?
                                                Chapter 9
                                                Chapter 11. Check all that apply:
                                                                    Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                    insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                                    4/01/19 and every 3 years after that).
                                                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                    debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                    of operations, cash-flow statement, and federal income tax return or if all of these
                                                                    documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                    A plan is being filed with this petition.
                                                                    Acceptances of the plan were solicited prepetition from one or more classes of
                                                                    creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                    The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                    Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                    Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                    Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                                    The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                                    Rule 12b-2.
                                                       Chapter 12


9.    Were prior bankruptcy cases               No
      filed by or against the debtor            Yes.     District                           When                    Case number
      within the last 8 years?                                                                     MM / DD / YYYY

If more than 2 cases, attach a separate                  District                           When                    Case number
list.                                                                                              MM / DD / YYYY


10.   Are any bankruptcy cases                  No
      pending or being filed by a               Yes.     Debtor                                                     Relationship
      business partner or an affiliate
                                                         District                                                   When
      of the debtor?                                                                                                               MM / DD   /YYYY
                                                         Case number, if known
List all cases. If more than 1, attach a
separate list.




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                                 Case 18-10467-KG                 Doc 1         Filed 03/04/18               Page 3 of 24


Debtor HCR ManorCare, Inc.                                        Case number(if known)
          Name



11.   Why is the case filed in this            Check all that apply:
      district?
                                                    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                    immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                    district.
                                                    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                                    district.


12.   Does the debtor own or have                  No
      possession of any real                        Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
      property or personal property                 needed.
      that needs immediate                          Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                         safety.
                                                         What is the hazard?
                                                         It needs to be physically secured or protected from the weather.
                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                         attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                         assets or other options).
                                                         Other
                                               Where is the property?
                                                                         Number     Street




                                                                         City                                      State                ZIP Code

                                               Is the property insured?
                                                   No
                                                    Yes. Insurance agency

                                                          Contact

                                                          Phone


                 Statistical and administrative information

13.   Debtor’s estimation of                   Check one:
      available funds                               Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                                    creditors.


14.   Estimated number of creditors                1-49                                      1,000-5,000                        25,001-50,000
                                                   50-99                                     5,001-10,000                       50,001-100,000
                                                   100-199                                   10,001-25,000                      More than 100,000
                                                   200-999

                                                   $0-$50,000                                $1,000,001-$10 million             $500,000,001-$1 billion
15.   Estimated assets                             $50,001-$100,000                          $10,000,001-$50 million            $1,000,000,001-$10 billion
                                                   $100,001-$500,000                         $50,000,001-$100 million           $10,000,000,001-$50 billion
                                                   $500,001-$1 million                       $100,000,001-$500 million          More than $50 billion




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 3
Case 18-10467-KG   Doc 1   Filed 03/04/18   Page 4 of 24




                                                 03/04/2018
Case 18-10467-KG   Doc 1   Filed 03/04/18   Page 5 of 24
Case 18-10467-KG   Doc 1   Filed 03/04/18   Page 6 of 24
Case 18-10467-KG   Doc 1   Filed 03/04/18   Page 7 of 24
Case 18-10467-KG   Doc 1   Filed 03/04/18   Page 8 of 24
Case 18-10467-KG   Doc 1   Filed 03/04/18   Page 9 of 24
                                         Case 18-10467-KG                       Doc 1   Filed 03/04/18                Page 10 of 24


    Fill in this information to identify the case:

    Debtor name HCR ManorCare, Inc.
    United States Bankruptcy Court for the: ___________________ District of Delaware
                                                                            (State)                                                                     Check if this is an
    Case number (If known): _______________
                                                                                                                                                        amended filing
              The following list of creditors (“List of Creditors”) has been prepared from the unaudited books and records of HCR
    ManorCare, Inc. (the “Debtor”). The List of Creditors reflects estimated amounts owed by the Debtor as of the Petition Date. It was
    produced from the books and records of the Debtor as of the close of business on March 2, 2018. The List of Creditors does not
    include any person or entity who is now, or formerly was, an “insider” of the Debtor as that term is defined in 11 U.S.C. § 101(31). The
    information contained herein shall not constitute an admission of liability by, nor is it binding on, the Debtor. Moreover, nothing herein
    shall affect the Debtor’s right to challenge the amount or characterization of any claim at a later date. The Debtor’s failure to list a claim
    as contingent, unliquidated or disputed does not constitute a waiver of the Debtor’s right to contest the validity, priority and/or amount of
    any such claim.

    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                                  12/15
    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
    largest unsecured claims.

Name of creditor and complete                       Name, telephone number, and         Nature of the         Indicate if     Amount of unsecured claim
mailing address, including zip code                 email address of creditor           claim (for            claim is        If the claim is fully unsecured, fill in only
                                                    contact                             example, trade        contingent,     unsecured claim amount. If claim is partially
                                                                                        debts, bank           unliquidated,   secured, fill in total claim amount and deduction
                                                                                        loans,                or disputed     for value of collateral or setoff to calculate
                                                                                        professional                          unsecured claim.
                                                                                        services, and
                                                                                        government
                                                                                        contracts)
                                                                                                                              Total claim, if    Deduction        Unsecured
                                                                                                                              partially          for value of     claim
                                                                                                                              secured            collateral or
                                                                                                                                                 setoff
1       Quality Care Properties, Inc.1              Name: David Haddock, Esq.                                                   $445,796,590      Undetermined     Undetermined
        7315 Wisconsin Ave                          Telephone: (240) 223-4680
        Suite 250-W                                 Email: dhaddock@qcpcorp.com         Real Property Lease
        Bethesda, MD 20814                                                                  Obligations


2       David Howard, Individually and on behalf    Michael J Fuller, Esq.                                                                                         Undetermined
        of the Wrongful Death Beneficiaries of      Telephone: (800) 939-5580
        Donald Lee Howard                           Email: mike@mchughfuller.com
                                                                                             Litigation            C,U,D
        c/o McHugh Fuller Law Group PLLC
        97 Elias Whiddon Rd
        Hattiesburg, MS 39402
3       Joseph Grasso, Executor of the Estate of    Patrick Murphy                                                                                                 Undetermined
        Mary Grasso, Joseph Grasso, individually,   Telephone: (440) 946-7656
        William Grasso, individually                Email: pmurphy@dworkenlaw.com
                                                                                             Litigation            C,U,D
        c/o Dworken & Bernstein
        60 South Park Place
        Painesville, Ohio 44077
4       Clara J. Columbus, as Next of Kin of        Ray Maples
        Richard E. Columbus, Deceased and on        Telephone: (800) 539-0652                                                                                      Undetermined
        Behalf of all Wrongful Death Survivors of   Email: ray@mndlawfirm.com
        the Decedent                                                                         Litigation            C,U,D
        c/o Maples, Nix and Diesselhorst, PLLC
        15401 N. May Avenue
        Edmond, OK 73103
5       Lorraine F. Brosius, as Executrix for the   Tim McHugh                                                                                                     Undetermined
        Estate of William B. Brosius, deceased      Telephone: (813) 873-0026
        c/o Wilkes & McHugh                         Email: timothy@wilkesmchugh.com          Litigation            C,U,D
        1601 Cherry Street, Suite 1300
        Philadelphia, PA 19102
6       Eugene T. Adkins by and through Glen J.     Tim McHugh                                                                                                     Undetermined
        Adkins, Attorney-in-Fact                    Telephone: (813) 873-0026
        c/o Wilkes & McHugh, P.A.                   Email: timothy@wilkesmchugh.com          Litigation            C,U,D
        One North Dale Mabry, Suite 800
        Tampa, FL 33610



    1
     The claim asserted by Quality Care Properties, Inc. (“QCP”) is asserted on behalf of itself and each of the other QCP-affiliated “Lessors” under that certain Master
    Lease and Security Agreement, dated as of April 7, 2011 (as amended from time to time, the “MLSA”), by and among the Lessors and non-debtor HCR III Healthcare,
    LLC (“HCR III”). The Debtor guarantees HCR III’s obligations under the MLSA pursuant to that certain Guaranty of Obligations, effective as of February 11, 2013, as
    amended or modified from time to time.
    Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                        page 1
                                            Case 18-10467-KG                      Doc 1   Filed 03/04/18           Page 11 of 24
     Debtor        HCR ManorCare, Inc.                                                                     Case number (if known)
                   Name

Name of creditor and complete                         Name, telephone number, and         Nature of the    Indicate if      Amount of unsecured claim
mailing address, including zip code                   email address of creditor           claim (for       claim is         If the claim is fully unsecured, fill in only
                                                      contact                             example, trade   contingent,      unsecured claim amount. If claim is partially
                                                                                          debts, bank      unliquidated,    secured, fill in total claim amount and deduction
                                                                                          loans,           or disputed      for value of collateral or setoff to calculate
                                                                                          professional                      unsecured claim.
                                                                                          services, and
                                                                                          government
                                                                                          contracts)
                                                                                                                            Total claim, if    Deduction        Unsecured
                                                                                                                            partially          for value of     claim
                                                                                                                            secured            collateral or
                                                                                                                                               setoff
7        Marika Delgado, Personal Representative      Tim McHugh                                                                                                 Undetermined
         of the Estate of Sandra Shaw                 Telephone: (813) 873-0026
         c/o Wilkes & McHugh                          Email: timothy@wilkesmchugh.com
                                                                                              Litigation        C,U,D
         2355 E. Camelback Rd, Suite 910
         Phoenix, AZ 85016

8        Kimberly Kallas                              Lawrence Bach                                                                                              Undetermined
         c/o Lawrence Raymond Bach                    Telephone: (234) 281-4949
         50 S Main Street                             Email: jbach@rlbllp.com                 Litigation        C,U,D
         Akron, OH 44308

9        Douglas McCalister, as Administrator for     Tim McHugh                                                                                                 Undetermined
         the Estate of Donald E. McCalister           Telephone: (813) 873-0026
         c/o Wilkes & McHugh                          Email: timothy@wilkesmchugh.com         Litigation        C,U,D
         1601 Cherry Street, Suite 1300
         Philadelphia, PA 19102
10       Ronald A. Samsel and Richard J. Samsel,      Tim McHugh                                                                                                 Undetermined
         as Co-Administrators of the Estate of Mary   Telephone: (813) 873-0026
         A. Samsel, deceased                          Email: timothy@wilkesmchugh.com
                                                                                              Litigation        C,U,D
         c/o Wilkes & McHugh
         1601 Cherry Street, Suite 1300
         Philadelphia, PA 19102
11       Jeffrey Stone, as administrator of the       Tim McHugh                                                                                                 Undetermined
         estate of Rachel Stone, deceased             Telephone: (813) 873-0026
         c/o Wilkes & McHugh, P.A.                    Email: timothy@wilkesmchugh.com         Litigation        C,U,D
         429 North Broadway
         Lexington, KY 40588-1747
12       The Estate of Bryan L. Slattery by and       Tim McHugh                                                                                                 Undetermined
         through EM Micki Slattery, Personal          Telephone: (813) 873-0026
         Representative                               Email: timothy@wilkesmchugh.com
                                                                                              Litigation        C,U,D
         c/o Wilkes & McHugh, P.A.
         One North Dale Mabry, Suite 800
         Tampa, FL 33610
13       Margaret Ann Haney, as Executrix for the     Tim McHugh                                                                                                 Undetermined
         Estate of Lillian J. Kuntz, deceased         Telephone: (813) 873-0026
         c/o Wilkes & McHugh                          Email: timothy@wilkesmchugh.com         Litigation        C,U,D
         437 Grant St.
         Pittsburgh, PA 15219
14       Kecia L. Johnson, as Administrator of the    Tim McHugh                                                                                                 Undetermined
         Estate of William Henry Johnson, Jr.,        Telephone: (813) 873-0026
         deceased                                     Email: timothy@wilkesmchugh.com
                                                                                              Litigation        C,U,D
         c/o Wilkes & McHugh
         1601 Cherry Street, Suite 1300
         Philadelphia, PA 19102
15       John M. Starr, as Administrator of the       Tim McHugh                                                                                                 Undetermined
         Estate of Catherine J. Starr, Deceased       Telephone: (813) 873-0026
         c/o Wilkes & McHugh                          Email: timothy@wilkesmchugh.com         Litigation        C,U,D
         1601 Cherry Street, Suite 1300
         Philadelphia, PA 19102
16       Norman J. Brinton, by and through his        Tim McHugh                                                                                                 Undetermined
         Attorney-in-Fact, Joan D. Brinton            Telephone: (813) 873-0026
         c/o Wilkes & McHugh                          Email: timothy@wilkesmchugh.com         Litigation        C,U,D
         1601 Cherry Street, Suite 1300
         Philadelphia, PA 19102
17       Lorraine L. Davis, Executrix of the Estate   Tim McHugh                                                                                                 Undetermined
         of John L. Hudson                            Telephone: (813) 873-0026
         c/o Wilkes & McHugh                          Email: timothy@wilkesmchugh.com         Litigation        C,U,D
         1601 Cherry Street, Suite 1300
         Philadelphia, PA 19102
18       Sandra L. Stutzman, by and through her       Tim McHugh                                                                                                 Undetermined
         Attorney-in-Fact, Ann R. Russell             Telephone: (813) 873-0026
         c/o Wilkes & McHugh                          Email: timothy@wilkesmchugh.com         Litigation        C,U,D
         1601 Cherry Street, Suite 1300
         Philadelphia, PA 19102
19       The Estate of Aida J. Peon, by and           Tim McHugh                                                                                                 Undetermined
         through Mary Ann Torrens, personal           Telephone: (813) 873-0026
         representative                               Email: timothy@wilkesmchugh.com
                                                                                              Litigation        C,U,D
         c/o Wilkes & McHugh, P.A.
         One North Dale Mabry, Suite 800
         Tampa, FL 33610
20       The Estate of Arthur Hoddick, by and         Tim McHugh                                                                                                 Undetermined
         through Andrew B. Hoddick, PR                Telephone: (813) 873-0026
         c/o Wilkes & McHugh, P.A.                    Email: timothy@wilkesmchugh.com         Litigation        C,U,D
         One North Dale Mabry, Suite 800
         Tampa, FL 33610


     Official Form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                              page 2
                                              Case 18-10467-KG                         Doc 1   Filed 03/04/18           Page 12 of 24
     Debtor         HCR ManorCare, Inc.                                                                         Case number (if known)
                    Name

Name of creditor and complete                           Name, telephone number, and            Nature of the    Indicate if      Amount of unsecured claim
mailing address, including zip code                     email address of creditor              claim (for       claim is         If the claim is fully unsecured, fill in only
                                                        contact                                example, trade   contingent,      unsecured claim amount. If claim is partially
                                                                                               debts, bank      unliquidated,    secured, fill in total claim amount and deduction
                                                                                               loans,           or disputed      for value of collateral or setoff to calculate
                                                                                               professional                      unsecured claim.
                                                                                               services, and
                                                                                               government
                                                                                               contracts)
                                                                                                                                 Total claim, if    Deduction        Unsecured
                                                                                                                                 partially          for value of     claim
                                                                                                                                 secured            collateral or
                                                                                                                                                    setoff
21       Bridget M. Whitley, Administrator              Tim McHugh                                                                                                    Undetermined
         Pendente Lite for the Estate of Richard M.     Telephone: (813) 873-0026
         McVey, deceased                                Email: timothy@wilkesmchugh.com
                                                                                                   Litigation        C,U,D
         c/o Wilkes & McHugh
         1601 Cherry Street, Suite 1300
         Philadelphia, PA 19102
22       Walter W. Jackson, as PR of the Estate of      Ken Connor                                                                                                    Undetermined
         Phyllis W. Jackson, deceased                   Telephone: (800) 226-0543
         c/o Connor & Connor                            Email: ken@theconnorfirm.com               Litigation        C,U,D
         224 Park Ave SE
         Aiken, SC 29801
23       Colleen Bennett, as Independent                Steven M. Levin                                                                                               Undetermined
         Administrator of the Estate of Mary            Telephone:
         Parejko, deceased                              Email: sml@levinperconti.com
                                                                                                   Litigation        C,U,D
         c/o LEVIN & PERCONTI
         325 North LaSalle Street, Suite 450
         Chicago, IL 60654
24       Keesha Lane, as Administratrix of the          Brent Moss, Esq                                                                                               Undetermined
         Estate of Bobby Lane, Sr.                      Telephone: (877) 907-7790
         c/o Reddick Moss                               Email: brent@reddickmoss.com               Litigation        C,U,D
         1500 JFK Blvd., Suite 1145
         Philadelphia, PA 19106
25       Judy Wolf-Bolton, Administratrix of the        Kathryn Stebner                                                                                               Undetermined
         Estate of Lynn Wolff                           Telephone: (800) 610-9641
         c/o Stebner and Associates                     Email: kathryn@stebnerassociates.com       Litigation        C,U,D
         870 Market Street, Suite 1212
         San Francisco, CA 94102
26       Sheila J. Dillard, Attorney-in-Fact for        Tim McHugh                                                                                                    Undetermined
         Dorothy J. Winkfield                           Telephone: (813) 873-0026
         c/o Wilkes & McHugh                            Email: timothy@wilkesmchugh.com            Litigation        C,U,D
         437 Grant St.
         Pittsburgh, PA 15219
27       Neil F. Braun, as Executor for the Estate of   Tim McHugh                                                                                                    Undetermined
         Kathleen M. Braun                              Telephone: (813) 873-0026
         c/o Wilkes & McHugh                            Email: timothy@wilkesmchugh.com            Litigation        C,U,D
         1601 Cherry Street, Suite 1300
         Philadelphia, PA 19102
28       Dora McGill, as Executor for the Estate of     Tim McHugh                                                                                                    Undetermined
         James McGill                                   Telephone: (813) 873-0026
         c/o Wilkes & McHugh, P.A.                      Email: timothy@wilkesmchugh.com            Litigation        C,U,D
         429 N. Broadway
         Lexington, KY40588-1747
29       Barbara L. Clauser, Attorney-in Fact for       Tim McHugh                                                                                                    Undetermined
         Willard F. Gower                               Telephone: (813) 873-0026
         c/o Wilkes & McHugh                            Email: timothy@wilkesmchugh.com            Litigation        C,U,D
         1601 Cherry Street, Suite 1300
         Philadelphia, PA 19102
30       Carol A. Rennick, Attorney-in-Fact for         Tim McHugh                                                                                                    Undetermined
         Joanna Dronick                                 Telephone: (813) 873-0026
         c/o Wilkes & McHugh                            Email: timothy@wilkesmchugh.com            Litigation        C,U,D
         1601 Cherry Street, Suite 1300
         Philadelphia, PA 19102




     Official Form 204                        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                 page 3
Case 18-10467-KG   Doc 1   Filed 03/04/18   Page 13 of 24
                 Case 18-10467-KG         Doc 1   Filed 03/04/18   Page 14 of 24




                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


 In re:                                               Chapter 11

 HCR MANORCARE, INC.,                                 Case No. 18-_____ (___)

                         Debtor.


                          CORPORATE OWNERSHIP STATEMENT

        Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following list identifies all corporations, other than a governmental unit, which directly or
indirectly own 10% or more of any class of equity interests in the above-captioned debtor and
debtor in possession:

          •   Carlyle Partners V MC, L.P.

          •   Carlyle MC Partners, L.P.
Case 18-10467-KG   Doc 1   Filed 03/04/18   Page 15 of 24
               Case 18-10467-KG        Doc 1     Filed 03/04/18     Page 16 of 24




                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE


 In re:                                               Chapter 11

 HCR MANORCARE, INC.,                                 Case No. 18-_____ (___)

                       Debtor.


                         LIST OF EQUITY SECURITY HOLDERS

         Pursuant to rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the following is
a list of holders of equity securities of the above-captioned debtor and debtor in possession.

  Name and Last Known Address or                Kind of Interest          Number of Securities
      Place of Business of Holder
 Adams, Paula                              Common Shares                 2,964
 12132 Turnberry Drive
 Rancho Mirage, CA 92270
 Allegretti, Peter                         Common Shares                 3,459
 601 Golden Rod Way
 St. Mary's, GA 31558
 Allen, Martin                             Common Shares                 4,941
 7151 Whispering Oak
 Sylvania, OH 43560
 Arrendale, Deb                            Common Shares                 3,459
 393 12th Avenue
 Indian Rocks Beach, FL 33785
 Barker, Tammy                             Common Shares                 1,976
 4521 Sutton Road
 Britton, MI 49229
 Beckert, Julie                            Common Shares                 1,976
 3911 Buell Avenue
 Toledo, OH 43613
 Carlyle MC Partners, L.P.                 Common Shares                 6,908,455
 1001 Pennsylvania Avenue, NW
 Washington, DC 20004-2505
 Carlyle Partners V MC, L.P.               Common Shares                 26,089,114
 1001 Pennsylvania Avenue, NW
 Washington, DC 20004-2505
 Carlyle Partners V-A MC, L.P.             Common Shares                 527,141
 1001 Pennsylvania Avenue, NW
 Washington, DC 20004-2505
           Case 18-10467-KG    Doc 1   Filed 03/04/18     Page 17 of 24




 Name and Last Known Address or        Kind of Interest        Number of Securities
     Place of Business of Holder
Cavanaugh, Steve                   Common Shares              366,657
9036 Sand Ridge Drive
Holland, OH 43528
Chenevert, Bill                    Common Shares              4,941
7120 East Snyder Road
Tucson, AZ 85750
Clark, Ellen                       Common Shares              1,976
8001 Bridgehampton Drive
Waterville, OH 43566
CP Coinvestment A, L.P.            Common Shares              1,015,490
1001 Pennsylvania Avenue, NW
Washington, DC 20004-2505
CP V Coinvestment B, L.P.          Common Shares              129,357
1001 Pennsylvania Avenue, NW
Washington, DC 20004-2505
Davidson, Karen                    Common Shares              1,976
612 W. Magnolia
Pana, IL 62557
Edwards, Nancy                     Common Shares              9,882
9261 Lerwick Drive
Dublin, OH 43017
Ferguson, Mike                     Common Shares              4,941
2612 Evergreen Road
Toledo, OH 43606
Gloth, Mark                        Common Shares              3,459
2322 Hidden Brook Road
Finksburg, MD 21048
Gluch, Lynda                       Common Shares              1,976
8740 Paulina Avenue
Grosse Ile, MI 48138
Godla, Larry                       Common Shares              3,459
132 Birchside Circle
Locust Grove, VA 22508
Grabijas, Martin                   Common Shares              3,953
2682 Ravine Side North
Howell, MI 48843
Graham, John                       Common Shares              7,412
3547 Hill River Drive
Toledo, OH 43615
Guillard, Stephen                  Common Shares              445,488
78 Tilipi Run
Chatham, MA 02633-2554




                                       2
            Case 18-10467-KG     Doc 1   Filed 03/04/18     Page 18 of 24




 Name and Last Known Address or          Kind of Interest        Number of Securities
     Place of Business of Holder
Harris, Jeff                         Common Shares              3,459
25536 Seminary Road
Perrysburg, OH 43551
Hash, Alan                           Common Shares              4,941
9496 South Dunbar Drive
South Jordan, UT 84095
Hollins, Sharon                      Common Shares              3,459
2641 Falmouth Road
Ottawa Hills, OH 43615
Hood, Lynn                           Common Shares              5,929
15415 Meadow Wood Drive
Wellington, FL 33414
Hoops, Kathy                         Common Shares              4,941
24708 McCutchenville Road
Perrysburg, OH 43551
Huber, John                          Common Shares              3,459
2779 Stonefence Drive
Perrysburg, OH 43551
Hughes, Carla                        Common Shares              3,459
201 Settlers Trace Boulevard #2220
Lafayette, LA 70508
Johnston, Will                       Common Shares              3,294
3100 West End Avenue Suite 875
Nashville, TN 37203
Kaczor, Beth                         Common Shares              3,459
1966 W. Temperance Road
Temperance, MI 48182
Kang, Matthew                        Common Shares              4,941
3214 Chapel Creek Drive
Perrysburg, OH 43551
Kight, Dan                           Common Shares              3,953
2013 Orchard Road
Toledo, OH 43606
Lanning, David                       Common Shares              1,976
806 Copley Lane
Silver Spring, MD 20904
Lazarus, Barry                       Common Shares              4,941
2629 Liverpool Court
Toledo, OH 43617
Mastrangelo, Janet                   Common Shares              1,976
266 Crossing Creek N
Gahanna, OH 43230




                                         3
            Case 18-10467-KG     Doc 1   Filed 03/04/18     Page 19 of 24




 Name and Last Known Address or          Kind of Interest        Number of Securities
     Place of Business of Holder
MC Operations Investments, Inc.      Common Shares              4,232,244
c/o Quality Care Properties, Inc.
7315 Wisconsin Avenue, Suite 250-W
Bethesda, MD 20814
McMann, Scott                        Common Shares              1,976
2267 Robinwood Avenue
Toledo, OH 43620
Mercier, Murry                       Common Shares              5,929
7110 Oak Bluff Lane
Maumee, OH 43537
Mock, Douglas                        Common Shares              2,964
1083 Abbieshire Avenue
Lakewood, OH 44107
Morey, Sue                           Common Shares              5,929
308 Shelly Drive
Sinking Spring, PA 19608
Nees, Dave                           Common Shares              3,459
5315 Rymoor Drive
Sylvania, OH 43560
Neumann, Linda                       Common Shares              4,941
1495 Inwood Road
Oakland Twp, MI 48306
Orlowski, Annette                    Common Shares              1,976
2664 Heytman Drive
Lansing, IA 52151
Ormond, Paul                         Common Shares              3,013,620
95047 San Remo Drive #2A
Fernandina Beach, FL 32034
Pagoaga, Jim                         Common Shares              3,459
21 Winding Creek Place
Sylvania, OH 43560
Parker, David                        Common Shares              5,929
2154 Tremont Road
Columbus, OH 43221
Parr, Richard                        Common Shares              284,377
2253 Gray Fox Court
Ann Arbor, MI 48103
Porter, Cliff                        Common Shares              1,976
3929 Azalea Circle
Maumee, OH 43537
Reed, Mike                           Common Shares              6,918
3899 Midshore Drive
Naples, FL 34109



                                         4
           Case 18-10467-KG    Doc 1    Filed 03/04/18     Page 20 of 24




 Name and Last Known Address or         Kind of Interest        Number of Securities
     Place of Business of Holder
Remenar, John                      Common Shares               5,929
17302 Beach Ridge Way
West Olive, MI 49460
Royer, Jeff                        Common Shares               3,459
8826 Oldham Way West
Palm Beach, FL 33412
Rump, Rick                         Common Shares               1,976
2423 Heather Glen Drive
Maumee, OH 43537
Russo, Angela                      Common Shares               3,459
9638 23rd Bay Street
Norfolk, VA 23518
Saddler, Steve, MD                 Common Shares               3,294
8101 Hinson Farm Road #301
Alexandria, VA 22306
Schroeder, Bruce                   Common Shares               3,459
11153 Oak Pointe Drive
Whitehouse, OH 43571
Silverstein, Burton                Common Shares               1,976
179 McNamara Road
Spring Valley, NY 10977
Smith, Joyce                       Common Shares               5,929
3521 Cedar Creek Court
Maumee, OH 43537
Spencer, Steve                     Common Shares               5,929
1102 Towsley Lane
Ann Arbor, MI 48105
Thompson, George                   Common Shares               1,976
8995 Ottawa Lake Road
Ottawa Lake, MI 49267
Traupane, Ron                      Common Shares               1,976
409 Fiddlers Point Drive
St Augustine, FL 32080
Young, Tom                         Common Shares               10,234
8967 Bloomfield Boulevard
Sarasota, FL 34238
JP Morgan Securities LLC           Preferred Shares            2,000
277 Park Avenue
New York, NY 10172
Allegretti, Peter                  Restricted Common Shares    4,469
601 Golden Rod Way
St. Mary's, GA 31558




                                        5
           Case 18-10467-KG    Doc 1    Filed 03/04/18    Page 21 of 24




 Name and Last Known Address or        Kind of Interest        Number of Securities
     Place of Business of Holder
Allen, Martin                      Restricted Common Shares   30,196
7151 Whispering Oak
Sylvania, OH 43560
Arrendale, Deb                     Restricted Common Shares   4,469
393 12th Avenue
Indian Rocks Beach, FL 33785
Beckert, Julie                     Restricted Common Shares   2,732
3911 Buell Avenue
Toledo, OH 43613
Cavanaugh, Steve                   Restricted Common Shares   701,393
9036 Sand Ridge Drive
Holland, OH 43528
Ferguson, Mike                     Restricted Common Shares   19,946
2612 Evergreen Road
Toledo, OH 43606
Gloth, Mark                        Restricted Common Shares   23,459
2322 Hidden Brook Road
Finksburg, MD 21048
Gluch, Lynda                       Restricted Common Shares   2,732
8740 Paulina Avenue
Grosse Ile, MI 48138
Godla, Larry                       Restricted Common Shares   8,209
132 Birchside Circle
Locust Grove, VA 22508
Grabijas, Martin                   Restricted Common Shares   30,826
2682 Ravine Side North
Howell, MI 48843
Graham, John                       Restricted Common Shares   35,296
3547 Hill River Drive
Toledo, OH 43615
Harris, Jeff                       Restricted Common Shares   4,469
25536 Seminary Rd
Perrysburg, OH 43551
Hollins, Sharon                    Restricted Common Shares   18,709
2641 Falmouth Road
Ottawa Hills, OH 43615
Hoops, Kathy                       Restricted Common Shares   32,817
24708 McCutchenville Road
Perrysburg, OH 43551
Huber, John                        Restricted Common Shares   18,709
2779 Stonefence Drive
Perrysburg, OH 43551




                                       6
           Case 18-10467-KG    Doc 1    Filed 03/04/18    Page 22 of 24




 Name and Last Known Address or        Kind of Interest        Number of Securities
     Place of Business of Holder
Julius, Griffin                    Restricted Common Shares   10,500
3321 Pelham Road
Ottawa Hills, OH 43606
Kaczor, Beth                       Restricted Common Shares   18,459
1966 W. Temperance Road
Temperance, MI 48182
Kang, Matthew                      Restricted Common Shares   136,658
3214 Chapel Creek Drive
Perrysburg, OH 43551
Kight, Dan                         Restricted Common Shares   29,205
2013 Orchard Road
Toledo, OH 43606
McCormick, Patricia                Restricted Common Shares   1,000
26920 W. River Road
Perrysburg, OH 43551
McMann, Scott                      Restricted Common Shares   2,982
2267 Robinwood Avenue
Toledo, OH 43620
Mercier, Murry                     Restricted Common Shares   33,809
7110 Oak Bluff Lane
Maumee, OH 43537
Mock, Douglas                      Restricted Common Shares   2,974
1083 Abbieshire Avenue
Lakewood, OH 44107
Morey, Sue                         Restricted Common Shares   55,929
308 Shelly Drive
Sinking Spring, PA 19608
Nation, Joylin                     Restricted Common Shares   2,000
15985 Voyageurs Place
Wellington, FL 33414-9073
Neumann, Linda                     Restricted Common Shares   30,696
1495 Inwood Road
Oakland Twp, MI 48306
Pagoaga, Jim                       Restricted Common Shares   18,209
21 Winding Creek Place
Sylvania, OH 43560
Parker, David                      Restricted Common Shares   55,929
2154 Tremont Road
Columbus, OH 43221
Parr, Richard                      Restricted Common Shares   295,470
2253 Gray Fox Court
Ann Arbor, MI 48103




                                       7
           Case 18-10467-KG    Doc 1    Filed 03/04/18    Page 23 of 24




 Name and Last Known Address or        Kind of Interest        Number of Securities
     Place of Business of Holder
Perry, Brian                       Restricted Common Shares   1,000
3 Exmoor
Toledo, OH 43615
Reed, Mike                         Restricted Common Shares   56,920
3899 Midshore Drive
Naples, FL 34109
Ruppert, Mary Jane                 Restricted Common Shares   750
603 North Blackhoof Street
Wapakoneta, OH 45895
Silverstein, Burton                Restricted Common Shares   3,232
179 McNamara Road
Spring Valley, NY 10977
Sorensen, Melissa                  Restricted Common Shares   19,240
16591 Freyman Road
Cygnet, OH 43413
Talbert, Eric                      Restricted Common Shares   1,000
7231 Stonewater Court
Maumee, OH 43537
Thompson, George                   Restricted Common Shares   2,732
8995 Ottawa Lake Road
Ottawa Lake, MI 49267
Ubaydi, Rami                       Restricted Common Shares   2,000
3910 White Tail Drive
Rochester Hills, MI 48306
Zalewski, Cindy                    Restricted Common Shares   1,000
5524 Ginger Tree Lane
Toledo, OH 43623




                                       8
Case 18-10467-KG   Doc 1   Filed 03/04/18   Page 24 of 24
